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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

----------------------------------                   x
ALISSA FREDRICKS,
                                                     :
                               Plaintiff,              Civil Action
                                                     : No. 19-10331-RGS
                v.
                                                     :
MARKEL CATCO INVESTMENT
MANAGEMENT LTD AND MARKEL CORP., :

                     Defendants.                     :
----------------------------------                   x

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

                Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Alissa

Fredricks hereby gives notice of the voluntary dismissal of this action with prejudice. No

opposing party has served either an answer or a motion for summary judgment.




 Dated: July 2, 2019                           Respectfully submitted,
        Boston, Massachusetts

                                               /s/ Justin J. Wolosz
                                               Joan A. Lukey (BBO #307340)
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